Case 4:24-cv-00048-DN-PK             Document 35       Filed 10/22/24     PageID.354      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF UTAH, SOUTHERN DIVISION


     STATE OF UTAH et al.,

          Plaintiffs,                                 Case No. 4:24-cv-0048-DN-PK

     v.                                               ORDER GRANTING MOTION TO
                                                      INTERVENE
     DEB HAALAND, et al.,

          Defendants,
                                                      Judge David Nuffer
     and                                              Magistrate Judge Paul Kohler

     SOUTHERN UTAH WILDERNESS
     ALLIANCE and NATIONAL PARKS
     CONSERVATION ASSOCIATION,

          Proposed Defendant-Intervenors.



             This matter comes before the Court upon the Motion to Intervene 1 filed by proposed

 Defendant-Intervenors Southern Utah Wilderness Alliance and National Parks Conservation

 Association (collectively “Conservation Organizations”). Having reviewed the Motion and

 determined that intervention is warranted, the Conservation Organizations’ Motion is

 GRANTED.

             Signed this 22nd day of October, 2024.

                                                         BY THE COURT:



                                                         PAUL KOHLER
                                                         United States Magistrate Judge

 1
     Docket No. 23, filed October 7, 2024.
